
By the Court:
The plaintiff below sued on a judgment against Sarah Brown, obtained during,the January term, 1897, upon which there is *636an unsatisfied balance of $296.31. He claimed that this judgment became a lien on property on Price Hill, sold and transferred during that term of court to the present plaintiff in error. The court below sustained a demurrer to the purchaser’s answer, and granted a decree for sale.
Louis J. Dolle, for Plaintiff in Error.
Charles F. Droste, contra.
The reviewing court holds that Sarah Brown lost her right of homestead by the transfer; that the judgment is a lien on the property in question; but the purchaser having paid back-taxes and an old mortgage is subrogated to those claims.
Judgment reversed, demurrer overruled and cause remanded for further proceedings.
